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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    GEORGE GOODRITZ                                 : No.
                                                    :
                                  Plaintiff,        :
             v.                                     :
                                                    :
    PHEFA PA COLLEGE OF PODIATRIC                   :
    MEDICINE,                                       :
                              and                   :
    PARKWAY PARKING                                 :
    MANAGEMENT, LLC                                 :     COMPLAINT
                                                    :
                                  Defendants        :

                              PRELIMINARY STATEMENT

  George Goodritz (the “Plaintiff”), by and through his counsel, brings this lawsuit against

PHEFA PA College of Podiatric Medicine and Parkway Parking Management LLC,

seeking all available relief under the Americans with Disabilities Act for the failure to

comply with the Act’s accessibility requirements. Plaintiff is seeking injunctive relief

requiring the Defendants to remove the accessibility barriers which exist at their

parking facility. The allegations contained herein are based on personal experience of the

Plaintiff.
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                                   I. JURISDICTION

1. This action is brought pursuant to the Americans with Disabilities Act of 1990

   (“ADA”), 42 U.S.C. § 12101 et seq.

2. This civil controversy arises under the laws of the United States, and jurisdiction in

   conferred upon this District Court, pursuant to 28 U.S.C. §1331.


                                  II. VENUE

3. All actions complained of herein took place within the jurisdiction of the United States

   District Court for the Eastern District of Pennsylvania.

4. Venue is proper in this judicial District as provided by 28 U.S.C. §1391(b).

                                 III. PARTIES

5. Plaintiff is a 69 year-old adult male who currently resides in Montgomery County, in

   the Commonwealth of Pennsylvania.

6. Plaintiff is a disabled individual.

7. According to the Philadelphia Board of Revision of Taxes, PHEFA PA College of

   Podiatric Medicine (“Defendant PHEFA”) is the owner of the parking lot that is the

   subject of this suit, and has a tax account number of 881010111.

8. According to the Philadelphia Board of Revision of Taxes, Defendant PHEFA has a

   business address of 801 Cherry Street, Philadelphia, Pennsylvania 19107.

9. Parkway Parking Management, LLC (“Defendant Parkway”) is a domestic limited

   liability company registered with the Pennsylvania Department of State under entity

   identification number 4297462.

10. Defendant Parkway has a business address of 150 North Broad Street, Philadelphia,

   Pennsylvania 19102.
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11. Defendant PHEFA and Defendant Parkway are collectively referred to herein as the

   “Defendants.”


                                IV. STATEMENT OF FACTS

The Parking Facility

12. Defendant PHEFA owns a public parking facility located at 801 Cherry Street,

   Philadelphia, Pennsylvania 19107 (the “Parking Facility”).

13. Upon information and belief, Defendant Parkway manages the Parking Facility for

   Defendant PHEFA.

14. For a fee, an individual can park a vehicle in the Parking Facility at the prevailing

   market rates.

15. The Parking facility has approximately 100 (one-hundred) parking spaces.

16. The Parking Facility serves the general public, as well as patients of the Foot and Ankle

   Institute at the College of Podiatric Medicine.

17. Once inside the Parking Facility, the customer must locate an empty parking space on

   the lot to park his or her vehicle.

18. Upon the conclusion of the customer’s use of the Parking Facility, the customer must

   pay at a payment kiosk located on the lot.

19. The payment kiosk accepts payment for the time that the customer’s vehicle was at the

   Parking Facility.

20. The Parking Facility has no usable handicap-accessible parking spaces. (See Exhibit

   A)

21. The Parking Facility is not a valet-only facility; customers are able to self-park their

   vehicles.
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The Plaintiff

22. The Plaintiff is a disabled individual within the meaning of the ADA.

23. The Plaintiff has difficulty walking.

24. The Plaintiff possesses a handicapped parking placard issued by the Commonwealth of

   Pennsylvania.

25. The Plaintiff’s handicapped parking placard permits him to park his vehicle in spaces

   designated as being handicap-accessible.

26. The Plaintiff’s personal vehicle is a 2016 Toyota RAV 4.

27. The Plaintiff’s handicapped placard hangs on the rear-view mirror of his vehicle.

28. The Plaintiff travels to Philadelphia frequently, and is often unable to find parking on

   the streets.

29. Plaintiff parks in a parking garage or parking lot when on-street parking is not available.

30. The Plaintiff has patronized the Parking Facility.

31. The Plaintiff would patronize the Parking Facility in the future, but is currently deterred

   because of the lack of any handicap-accessible parking places.

                   THE AMERICANS WITH DISABILITIES ACT

32. Congress enacted the Americans with Disabilities Act (“ADA”) in 1990 with the

   purpose of providing “[a] clear and comprehensive national mandate for the elimination

   of discrimination against individuals with disabilities” and “[c]lear, strong, consistent,

   enforceable     standards    addressing    discrimination     against   individuals    with

   disabilities.” 42 U.S.C. § 12101(b).

33. The ADA provides a private right of action for injunctive relief to “any person who is

   being subject to discrimination on the basis of disability.” 42 U.S.C. § 12188(a)(1).
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34. Under the ADA, a disability is defined as “(A) a physical or mental impairment that

    substantially limits one or more major life activities of such individual; (B) a record of

    such an impairment; or (C) being regarded as having such an impairment.” 42 U.S.C.

    § 12102(1).

Title II

35. Title II of the ADA provides that “no qualified individual with a disability shall, by

    reason of such disability, be excluded from participation in or be denied the benefits of

    services, programs or activities of a public entity, or be subjected to discrimination by

    any such entity.” 42 U.S.C. § 12132.

36. To prove a violation of Title II of the ADA, a person must show that he is a “qualified

    individual with a disability”; (2) he was either excluded from participation in, or denied

    the benefits of the public entity’s services, programs, or activities, or was otherwise

    discriminated against by the public entity; and (3) such exclusion, denial of benefits, or

    discrimination was by reason of her disability. 42 U.S.C. § 12132.

37. For structures built before 1992, a public entity may satisfy Title II ADA by adopting

    a variety of less costly measures, including reassigning services to accessible facilities,

    assigning aides to assist persons with disabilities in accessing services, and using

    “accessible rolling stock or other conveyances....” 28 C.F.R. § 35.150(b)(1).

38. For facilities built or altered after 1992, Title II’s implementing regulations expressly

    require compliance with specific architectural accessibility standards. 28 C.F.R. §

    35.151.
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Title III

39. Title III of the ADA provides that “[n]o individual shall be discriminated against on

    the basis of disability in the full and equal enjoyment of the goods, services, facilities,

    privileges, advantages, or accommodations of any place of public accommodation by

    any person who owns, leases (or leases to), or operates a place of public

    accommodation.” 42 U.S.C. § 12182.

40. “It shall be discriminatory to afford an individual or class of individuals, on the basis

    of a disability or disabilities of such individual or class, directly, or through contractual,

    licensing, or other arrangements with the opportunity to participate in or benefit from

    a good, service, facility, privilege, advantage, or accommodation that is not equal to

    that afforded to other individuals.” 42 U.S.C. § 12182(b)(1)(A)(ii).

41. A “public accommodation” are private entities whose operations affect commerce. See

    42 U.S.C. § 12181(7).

42. In relevant part, Title III requires that the facilities of a public accommodation be

    “readily accessible to and usable by individuals with disabilities, except where an entity

    can demonstrate that it is structurally impracticable.” 42 U.S.C. § 12183(a)(1).

43. “Readily achievable” means easily accomplishable and able to be carried out without

    much difficulty or expense. 28 C.F.R. § 36.104.

44. Under Title III, places of public accommodation and commercial facilities that are

    newly constructed for occupancy beginning after January 26, 1992, must be “readily

    accessible to and usable by” individuals with disabilities. 28 C.F.R. § 36.401(a) (1).

45. Existing facilities whose construction predates January 26, 1992, must meet the lesser

    “barrier removal standard,” which requires the removal of barriers wherever it is
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      “easily accomplishable and able to be done without undue burden or expense.” 28

      C.F.R. § 36.304(a).

46. Discrimination, for purposes of a public accommodation, includes “[a] failure to design

      and construct facilities for first occupancy later than 30 months after July 26, 1990, that

      are readily accessible to and usable by individuals with disabilities” except where an

      entity can demonstrate that it is structurally impracticable to meet the requirements set

      forth by the ADA. 42 U.S.C. § 12183.

47. Under the ADA, businesses or privately owned facilities that provide goods or services

      to the public have a continuing obligation to remove accessibility barriers in existing

      parking lots when it is readily achievable to do so.

48. The restriping/repainting of the parking space borders in relatively inexpensive, and

      should be readily achievable and easily accomplishable.

Accessible Parking under the ADA

49. The 1991 implementing rules and the 2010 revisions to the ADA set forth the following

      requirements for handicap-accessible parking spaces:1



              Total Number of Parking Spaces              Minimum Number of Required
                Provided in Parking Facility               Accessible Parking Spaces


                            1 to 25                                       1
                           26 to 50                                       2
                           51 to 75                                       3
                          76 to 100                                       4
                         101 to 150                                       5
                         151 to 200                                       6




1
    See https://www.ada.gov/regs2010/2010ADAStandards/2010ADAstandards.htm#pgfId-1010282
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50. The ADA requires that handicap-accessible parking spaces be at least 96 (ninety-six)

    inches wide. See Appendix A to Part 36- Standards for Accessible Design, 28 C.F.R.

    Part 36.2

51. The width of a parking space is measured from the center of each parking line bordering

    the parking space.3 (See Exhibit B)

52. The ADA requires that there be an access isle for the handicap-accessible parking space

    that is at least 60 (sixty) inches wide. (See Exhibit B)

53. The path a person with a disability takes to enter and move through a facility is called

    an "accessible route."4

54. This route, which must be at least three feet wide, must remain accessible and not be

    blocked.5

55. Accessible routes must connect parking spaces to accessible entrances.6

56. “Facility” means all or any portion of buildings, structures, sites, complexes,

    equipment, rolling stock or other conveyances, roads, walks, passageways, parking

    lots, or other real or personal property, including the site where the building, property,

    structure, or equipment is located. 28 C.F.R. § 35.104.

57. ADA accessibility standards require that accessible parking spaces be located on the

    shortest accessible route from adjacent parking to the accessible entrance of the

    building.7



2
  See https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/ada-standards/chapter-5-general-site-and-building-elements
3
  See Id.
4
  See http://www.ada.gov/regs2010/titleII_2010/title_ii_primer.html
5
  See id.
6
  See https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/ada-standards/chapter-5-general-site-and-building-elements
7
  See http://www.ada.gov/adata1.pdf
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58. ADA Guidance Standards provide that “[a] "path of travel" includes a continuous,

    unobstructed way of pedestrian passage by means of which the altered area may be

    approached, entered, and exited, and which connects the altered area with an exterior

    approach (including sidewalks, streets, and parking areas), an entrance to the facility,

    and other parts of the facility.”8

59. “An accessible path of travel may consist of walks and sidewalks, curb ramps and other

    interior or exterior pedestrian ramps; clear floor paths through lobbies, corridors,

    rooms, and other improved areas; parking access aisles; elevators and lifts; or a

    combination of these elements.”9

60. Accessible parking spaces and the required accessible route should be located where

    individuals with disabilities do not have to cross a vehicular lane.10

Valet Parking

61. Valet parking facilities must have passenger loading zones which provide a vehicular

    pull-up space at a minimum of 60 (sixty) inches in width and a minimum of 20 (twenty)

    feet in length. (See Exhibit C)

62. The passenger loading zone must be located on an accessible route to the entrance of

    the facility.11

63. Access aisles must adjoin an accessible route and cannot overlap the vehicular way.




8
  See https://www.ada.gov/regs2010/2010ADAStandards/2010ADAstandards.htm#curbramps
9
  See Id.
10
   See Id.
11
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.6.6
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Signage and the ADA

64. The ADA standards require the use of the International Symbol of Accessibility (ISA)

     to identify parking spaces which are reserved for use by individuals with disabilities.12

     (See Exhibit D)

65. The ISA must be used to identify accessible passenger loading zones.

66. Directional signage must be used at inaccessible entrances to provide directions to the

     nearest accessible route.

67. Parking space identification signs shall be 60 (sixty) inches minimum above the finish

     floor or ground surface measured to the bottom of the sign.13

                                             COUNT I –

        FAILURE TO PROVIDE THE PROPER NUMBER OF HANDICAP-
                    ACCESSIBLE PARKING SPACES

68. All preceding paragraphs are hereby incorporated by reference as if fully set forth

     herein.

69. The Plaintiff is a disabled individual within the meaning of the ADA.

70. The major life activity that the constitutes the Plaintiff’s disability is his difficulty

     walking distances.

71. The Plaintiff’s limitation in walking distances is substantial.

72. The United States Supreme Court recognized the term “major life activities” includes

     walking. Bragdon v. Abbott, 524 U.S. 624, 638–39 (1998).

73. The Parking Facility offers parking to the general public.



12
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.1
13
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
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74. Defendant PHEFA failed to provide any usable handicap-accessible parking spaces at

   the Parking Facility.

75. Defendant Parkway failed to provide any usable handicap-accessible parking spaces at

   the Parking Facility.

76. The Parking Facility has three (3) handicap parking spaces; two of the three handicap

   spaces have a garbage dumpster sitting over the spaces, surrounded by a wood fence.

   The third handicap accessible space does not have any accessible access aisle. (See

   Exhibit A)

77. The Parking Facility’s failure to provide any usable handicap-accessible parking spaces

   has created an accessibility barrier for the Plaintiff, and other similarly situated disabled

   individuals.

78. Defendant PHEFA is responsible for ensuring the Parking Facility’s compliance with

   the ADA.

79. Defendant Parkway is responsible for ensuring the Parking Facility’s compliance with

   the ADA.

80. The Defendants can remedy their non-compliance with the ADA’s parking

   requirements by designating several of the available non-handicap-accessible spaces as

   handicap-accessible spaces.

81. Compliance with the handicap parking space requirements at the Parking Facility is

   readily achievable.

82. The Defendants’ failure to comply with the ADA has denied the Plaintiff the full and

   equal enjoyment of the parking offered by the Parking Facility.
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83. Because his walking distance is limited, the Plaintiff is adversely affected by the

   Parking Facility’s failure to comply with the ADA.

84. The Defendants have discriminated against the Plaintiff by their failure to comply with

   the ADA.

WHEREFORE, Plaintiff, seeks to injunctive relief to require the Defendants to comply

with the Americans with Disabilities Act, together with costs and mandatory attorneys’

fees under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendants as the Court deems just and proper.

                                        COUNT II-

     FAILURE TO COMPLY WITH THE ACCESS REQUIRMENTS UNDER
                          THE ADA


85. All of the preceding paragraphs are hereby incorporated by reference as if fully set forth

   herein.

86. The Parking Facility does not have any directional signs for the nearest accessible

   route.

87. The Parking Facility does not have any valet area passenger loading zones.

88. The Parking Facility does not have any handicap-accessible parking signs.

89. The Parking Facility does not have any marked accessible routes.

90. The Defendants can remedy their non-compliance by reallocating existing parking

   spaces and painting border lines which conform to the dimensional requirements of the

   ADA for handicap-accessible parking spaces and access aisles.
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91. Because his walking distance is limited, the Plaintiff is adversely affected by the

   Parking Facility’s failure to comply with the ADA handicap-accessible parking

   requirements.

92. The Defendants’ failure to comply with the ADA handicap-accessible parking

   requirements has denied the Plaintiff the full and equal enjoyment of parking offered

   by the Parking Facility.

93. The Defendants have discriminated against the Plaintiff by their failure to comply with

   the ADA handicap-accessible parking requirements.



WHEREFORE, Plaintiff, seeks to injunctive relief to require the Defendants to comply

with the Americans with Disabilities Act, together with costs and mandatory attorneys’

fees under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendants as the Court deems just and proper.




Respectfully submitted,

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Dated: May 3, 2017
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                             CERTIFICATE OF SERVICE

I, Franklin J. Rooks Jr., certify that I served Plaintiff’s Complaint via the Court’s ECF

system.



By: FJR5566

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                          EXHIBIT A
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                                     EXHIBIT B

(Source:https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/guide-to-the-ada-standards/chapter-5-parking#spaces)
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                                       EXHIBIT C



Source: https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/ada-standards/chapter-5-general-site-and-building-elements
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                         EXHIBIT D
